     Case 3:17-cv-02366-BAS-KSC Document 818 Filed 08/22/22 PageID.70926 Page 1 of 4




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14                       UNITED STATES DISTRICT COURT
15                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                   (San Diego)
16
17 AL OTRO LADO, Inc., et al.,                  Case No. 3:17-cv-02366-BAS-KSC
18
                        Plaintiffs,             Hon. Cynthia A. Bashant
19
20               v.                       THE GOVERNMENT’S STATUS
                                          UPDATE IN RESPONSE TO ORDER
21 ALEJANDRO MAYORKAS, Secretary (ECF NO. 816)
22 of Homeland Security, et al., in their
   official capacities,*
23
24                             Defendants.
25
26
27
       *
28       Pursuant to Federal Rule of Civil Procedure 25(d), Secretary Mayorkas is automat-
       ically substituted as a Defendant for former Acting Secretary Wolf.
     Case 3:17-cv-02366-BAS-KSC Document 818 Filed 08/22/22 PageID.70927 Page 2 of 4




1            The Government hereby responds to the Court’s August 5, 2022 Order to
2      “provide an update concerning the implementation status of USCIS’s procedures for
3      P.I. Class-membership identification and the provision of reopening and reconsider-
4      ation relief to potential P.I. Class members who were removed from the United
5      States by no later than August 22, 2022.” See Order Granting in Part and Denying
6      in Part Plaintiffs’ Motions Seeking Clarification or Modification of the Preliminary
7      Injunction and Clarification Order and Converting Preliminary Injunction into a Per-
8      manent Injunction (ECF No. 816), at p.49.
9            In response, the Government submits the attached Declaration from Ashley
10     B. Caudill-Mirillo, Acting Chief of the USCIS Asylum Division, concerning the sta-
11     tus of those procedures.
12
13     DATED: August 22, 2022                Respectfully submitted,
14                                           BRIAN M. BOYNTON
15                                           Principal Deputy Assistant Attorney General

16                                           WILLIAM C. PEACHEY
                                             Director
17
18                                           SAMUEL P. GO
                                             Assistant Director
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20                                           /s/ Katherine J. Shinners
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                                                1             GOVERNMENT’S STATUS UPDATE
                                                                      IN RESPONSE TO ORDER
                                                                Case No. 3:17-cv-02366-BAS-KSC
     Case 3:17-cv-02366-BAS-KSC Document 818 Filed 08/22/22 PageID.70928 Page 3 of 4




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                                           2            GOVERNMENT’S STATUS UPDATE
                                                                IN RESPONSE TO ORDER
                                                          Case No. 3:17-cv-02366-BAS-KSC
     Case 3:17-cv-02366-BAS-KSC Document 818 Filed 08/22/22 PageID.70929 Page 4 of 4




1                               CERTIFICATE OF SERVICE
2              Al Otro Lado v. Mayorkas, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
3            I certify that I served a copy of this document on the Court and all parties by
4      filing this document with the Clerk of the Court through the CM/ECF system, which
5      will provide electronic notice and an electronic link to this document to all counsel
6      of record.
7
8      DATED: August 22, 2022                 Respectfully submitted,

9                                             /s/ Katherine J. Shinners
10                                            KATHERINE J. SHINNERS
                                              Senior Litigation Counsel
11                                            United States Department of Justice
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                                                3             GOVERNMENT’S STATUS UPDATE
                                                                      IN RESPONSE TO ORDER
                                                                Case No. 3:17-cv-02366-BAS-KSC
